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1                                                                          The Honorable Thomas S. Zilly
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6
                               UNITED STATES DISTRICT COURT FOR THE
7                                WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
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9
     UNITED STATES OF AMERICA,                                   CASE NO. CR94-398TSZ
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                                                                          CR94-548TSZ
11                                      Plaintiff,                        CR94-550TSZ
                                                                          CR94-604TSZ
12
13                             v.                                STIPULATION OF THE
                                                                 PARTIES PERTAINING TO
14
                                                                 MOTION FOR
15 JOHNNY MADISON WILLIAMS,                                      COMPASSIONATE RELEASE
                                                                 PURSUANT TO 18 U.S.C.
16
                                        Defendant.               § 3582(c)(1)(A)
17
18
             The United States of America, by and through Brian T. Moran, United States
19
     Attorney for the Western District of Washington, and Helen J. Brunner, Assistant United
20
     States Attorney for said District, and the defendant, Johnny Madison Williams, through his
21
     counsel, Assistant Federal Public Defender Vicki Lai, hereby stipulate and agree as
22
     follows:
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             1.       On September 4, 1994, Johnny Madison Williams appeared before this Court
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     and, consistent with the terms of a plea agreement, entered guilty pleas to one count of
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     conspiracy to commit bank robbery in violation of 18 U.S.C. § 371; five counts of armed
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     bank robbery in violation of 18 U.S.C. §§ 2113(a) and (d); and five counts of use of a
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     firearm in commission of a crime of violence 18 U.S.C. § 924(c). In addition to the case
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      Stipulation of the Parties Pertaining to Motion for Compassionate Release        UNITED STATES ATTORNEY
                                                                                      700 STEWART STREET, SUITE 5220
      Pursuant to 18 U.S.C. § 3582(c)(1)(A)
                                                                                        SEATTLE, WASHINGTON 98101
      United States v. Williams - 1                                                           (206) 553-7970
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 1 charged in the Western District of Washington, this plea agreement resolved cases filed
 2 against Williams in three other federal judicial districts that were transferred to this district
 3 court for resolution. For these offenses, on January 20, 1995, this Court sentenced
 4 Williams to serve a total sentence of ninety-two years of imprisonment. Williams has been
 5 in custody since July 9, 1994. Given that he has lost only 14 days of good conduct time
 6 during that period for a refusal of a work assignment, he has now completed the equivalent
 7 of a 31-year prison sentence.
 8          2.       On September 3, 2020, Williams made a request for compassionate release
 9 to the Warden at Victorville Medium II Federal Correction Institution where he was housed
10 (before his recent transfer to United States Penitentiary at Lompoc) based on his medical
11 conditions as detailed in paragraph 3 below. That request was denied on September 17,
12 2020. Because more than 30 days have passed since he presented his request to the
13 Warden, Williams has satisfied the exhaustion requirement in 18 U.S.C. § 3582(c)(1)(A),
14 and this Court may consider the merits of his motion.
15          3.       Williams is now 69 years old.                He will turn 70 later this month. The
16 undersigned counsel for the United States and counsel for the defense have each reviewed
17 Williams’ Bureau of Prisons medical records. Records confirm that Williams suffers from
18 a variety of medical conditions, that include chronic obstructive pulmonary disease
19 (COPD), neuropathy, recurrent Bell’s palsy, and cataracts. He also has coronary artery
20 disease and a history of pulmonary embolisms. In addition, Williams attempted suicide
21 twice during his incarceration including one attempt which resulted in renal failure for
22 which he was placed on dialysis for a time. Finally, the record establishes that he was also
23 a long-time smoker.
24          4.       According to the Centers for Disease Control and Prevention (CDC), COPD,
25 coronary artery disease, and his history of smoking are all factors that are known to increase
26 his risk of severe illness from the virus that causes COVID-19. His age also places him at
27 a higher risk category for serious illness from the virus. And the other medical conditions
28 that he suffers from establish that he is in very poor health.

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 1          5.       Based on these and other facts, the parties agree that Williams’s medical
 2 history and age provide “extraordinary and compelling reasons,” as required in 18 U.S.C.
 3 § 3582(c)(1)(A) to permit this Court to consider whether a reduction in sentence is
 4 warranted after consideration of the factors in 18 U.S.C. § 3553(a). The parties further
 5 agree that Williams’s release would also be consistent with the factors set forth in 18 U.S.C.
 6 § 3553(a) and that based on his medical conditions, he does not pose a danger to the
 7 community if released. The parties acknowledge that Williams’s offenses are serious
 8 offenses. However, Williams was 43 years old at the time of sentencing, and before the
 9 robberies, his criminal history consisted of two offenses for felony theft of a car and armed
10 robbery of a convenience store in 1968 and 1969, when he was 17 and 18 years old.
11 Moreover, regarding the § 3553(a) analysis in the context of compassionate release, the
12 Court should also consider that, if sentenced today, Williams’s five § 924(c) convictions
13 and sentences, when combined with a guideline range for his bank robberies and
14 conspiracy convictions, would result in an advisory guideline range of 370 to 387 months.
15 Williams has already served, with good time, 372 months of imprisonment. And if this
16 Court concludes that a reduction in sentence is appropriate, pursuant to 18 U.S.C.
17 § 3582(c)(1)(A), this Court may “impose a term of . . . supervised release with or without
18 conditions that does not exceed the unserved portion of the original term of imprisonment.”
19          6.       For all these reasons, the parties jointly recommend that pursuant to the
20 authority in 18 U.S.C. § 3582(c)(1)(A), this Court should reduce Williams’s sentence to
21 time served and further direct that the Bureau of Prisons be provided the discretion to
22 execute this order after a quarantine period of 14 days.
23          7.       Although Williams has been provisionally approved to reside in an Oxford
24 House if this Court grants his release, he must still participate in an in-person interview
25 before a facility placement can be determined. Therefore, if this Court agrees that Williams
26 should be released, he will need placement in a residential reentry center until the steps for
27 residence in an Oxford House can be completed. Therefore, in addition to the quarantine
28 requirement, this Court should therefore include the following condition in any order:

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                                                                                   SEATTLE, WASHINGTON 98101
     United States v. Williams - 3                                                       (206) 553-7970
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1           The defendant shall reside in and satisfactorily participate in a residential
            reentry center program, as a condition of supervised release or probation for
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            up to 180 days or until discharged by the Program Manager or U.S. Probation
3           Officer. The defendant may be responsible for a 25% gross income
            subsistence fee.
4
5           Dated this 4th day of January, 2021.
6
                                                               Respectfully submitted,
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8                                                              BRIAN T. MORAN
                                                               United States Attorney
9
10                                                             /s/ Helen J. Brunner
                                                               HELEN J. BRUNNER
11
                                                               Assistant United States Attorney
12                                                             United States Attorney’s Office
                                                               700 Stewart Street, Suite 5220
13
                                                               Seattle, Washington 98101-1271
14                                                             Phone: 206-553-7970
                                                               E-mail: Micki.Brunner@usdoj.gov
15
16                                                             /s/ Vick Lai
                                                               VICKI LAI
17
                                                               Assistant Federal Public Defender
18                                                             Counsel for Johnny Madison Williams.
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